Case 2:18-cv-03325-MWF-AS Document 47 Filed 05/20/19 Page 1 of 2 Page ID #:207



   1 KELLY M. KLAUS (State Bar No. 161091)
       kelly.klaus@mto.com
   2 ELIZABETH A. KIM (State Bar No. 295277)
       elizabeth.kim@mto.com
   3 MUNGER, TOLLES & OLSON LLP
       350 South Grand Avenue
   4 Fiftieth Floor
       Los Angeles, California 90071-3426
   5 Telephone: (213) 683-9100
       Facsimile: (213) 687-3702
   6
       MICHAEL B. DESANCTIS (admitted pro hac vice)
   7 michael.desanctis@mto.com
       MUNGER, TOLLES & OLSON LLP
   8 1155 F Street N.W., Seventh Floor
       Washington, D.C. 20004-1357
   9 Telephone: (202) 220-1100
       Facsimile: (202) 220-2300
  10
       Attorneys for Plaintiffs
  11
                              UNITED STATES DISTRICT COURT
  12
               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  13

  14 Amazon Content Services, LLC;                 Case No. 2:18-CV-03325-MWF (AS)
       Columbia Pictures Industries, Inc.;
  15   Disney Enterprises, Inc.; Netflix           PLAINTIFFS’ APPLICATION FOR
       Studios, LLC; Paramount Pictures            ENTRY OF DEFAULT AGAINST
  16   Corporation; Sony Pictures Television       DEFENDANT SET BROADCAST,
       Inc.; Twentieth Century Fox Film            LLC D/B/A SETVNOW
  17   Corporation; Universal City Studios
       Productions LLLP; Universal Cable
  18   Productions LLC; Universal Television       Judge: Hon. Michael W. Fitzgerald
       LLC; Warner Bros. Entertainment Inc.,
  19                                               Magistrate Judge: Hon. Alka Sagar
                    Plaintiffs,
  20                                               Filed concurrently: Declaration of
             vs.                                   Elizabeth A. Kim
  21
       Set Broadcast, LLC d/b/a Setvnow;
  22 Jason Labossiere; Nelson Johnson,

  23                Defendants.
  24

  25

  26

  27

  28

                          PLAINTIFFS’ APPLICATION FOR ENTRY OF DEFAULT AGAINST SET BROADCAST
                                                                 CASE NO. 2:18-CV-03325-MWF (AS)
Case 2:18-cv-03325-MWF-AS Document 47 Filed 05/20/19 Page 2 of 2 Page ID #:208



   1        TO: THE CLERK OF THE ABOVE-ENTITLED COURT
   2        Pursuant to Rule 55(a) of the Federal Rules of Civil Procedure, Plaintiffs
   3 Amazon Content Services, LLC, Columbia Pictures Industries, Inc., Disney

   4 Enterprises, Inc., Netflix Studios, LLC, Paramount Pictures Corporation, Twentieth

   5 Century Fox Film Corporation, Universal City Studios Productions LLLP, and

   6 Warner Bros. Entertainment Inc., (“Plaintiffs”) hereby request that the Clerk of the

   7 United States District Court for the Central District of California enter default in this

   8 matter against Defendant Set Broadcast LLC d/b/a Setvnow for failure to timely

   9 respond in writing to the Court’s April 17, 2019 Order to Show Cause as to why the

  10 Answer filed on June 18, 2018 should not be stricken for failure to retain counsel.

  11 ECF Dkt. 45.

  12        As evidenced by the proof of service on file with this Court, Defendant Set
  13 Broadcast LLC was served with a copy of the Court’s April 17, 2019 Order via

  14 certified mail and email on April 22, 2019, by its former counsel, Mr. Joseph

  15 Shapiro. See ECF Dkt. No. 46. Mr. Shapiro certified that he also served the Court’s

  16 Order on Defendant Set Broadcast LLC’s owner and operator, Jason Labossiere, and

  17 Set Broadcast’s former authorized manager Nelson Johnson. Despite being served

  18 with the Court’s Order, Defendant Set Broadcast LLC has failed to respond to the
  19 Court’s Order to Show Cause by the Court’s May 13, 2019 deadline.

  20        Plaintiffs’ Application for Entry of Default Against Defendant Set Broadcast
  21 LLC is supported by the accompanying Declaration of Elizabeth A. Kim.

  22

  23 DATED: May 20, 2019                    MUNGER, TOLLES & OLSON LLP

  24

  25
                                            By:         /s/ Kelly M. Klaus
  26                                             KELLY M. KLAUS
                                            Attorneys for Plaintiffs
  27

  28
                                                  -2-
                         PLAINTIFFS’ APPLICATION FOR ENTRY OF DEFAULT AGAINST SET BROADCAST
                                                                CASE NO. 2:18-CV-03325-MWF (AS)
